    Case: 1:22-cv-03013 Document #: 129 Filed: 07/21/22 Page 1 of 4 PageID #:81




                      UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA; the            )
States of ARKANSAS, CALIFORNIA,          )
COLORADO, CONNECTICUT                    )
DELAWARE, FLORIDA, GEORGIA,              )
HAWAII, ILLINOIS, INDIANA, IOWA, )
LOUISIANA, MASSACHUSETTS,                )
MICHIGAN, MINNESOTA, MISSOURI, )
MONTANA, NEVADA, NEW                     )
HAMPSHIRE, NEW JERSEY,                   )
NEW MEXICO, NEW YORK, NORTH )
CAROLINA, OKLAHOMA, RHODE                )
ISLAND, TENNESSEE, TEXAS,                )
VERMONT, VIRGINIA,                       )
WASHINGTON, WISCONSIN,                   )
THE DISTRICT OF COLUMBIA,                )
ex rel. JEFFREY WILKERSON and            )                 Case No.: 1:22-CV-03013
LARRY JACKSON,                           )                 Judge Sharon Johnson Coleman
                                         )
                    Plaintiffs-Relators, )
                                         )
             v.                          )
                                         )
ALLERGAN LIMITED f/k/a                   )
ALLERGAN PLC and ALLERGAN                )
USA, INC.                                )
                                         )
                   Defendants.           )

       JOINT MOTION TO EXCEED THE PAGE LIMIT IN LOCAL RULE 7.1
       The parties in this case respectfully submit this motion to exceed the page limit of Local

Rule 7.1 with respect to Defendant Allergan USA Inc.’s memorandum in support of its motion to

dismiss the Third Amendment Complaint (the “Complaint”) and Plaintiffs-Relators’ memorandum

in opposition to that motion. The parties each request five pages in excess of the 15-page limit,

for a total of 20 pages per side. In support of this motion, the parties submit the following points

and authorities:
    Case: 1:22-cv-03013 Document #: 129 Filed: 07/21/22 Page 2 of 4 PageID #:82




       1. Although Local Rule 7.1 generally limits briefs to 15 pages, that limitation may be
          exceeded with “prior approval of the court.” This Court thus may in its discretion grant
          a request to exceed the usual page limit.

       2. The issues raised by Relators’ Complaint require a thorough discussion, which cannot
          properly be accomplished in only 15 pages. The Complaint raises 39 counts and
          invokes multiple federal and state statutes. Adherence to the usual page limitation
          would not be in this Court’s or the parties’ interest, because the parties’ discussion of
          the issues would by necessity be less fulsome than the issues warrant.

       WHEREFORE, the parties respectfully request that this Court enter an Order granting this

Joint Motion to Exceed the Page Limitation in Local Rule 7.1, such that Defendant’s memorandum

in support of the motion to dismiss and Plaintiffs’ memorandum in opposition to the motion to

dismiss shall each not exceed 20 pages.

Dated: July 21, 2022                                Respectfully submitted,

 /s/ Sherri M. Arrigo                                /s/ Michael Sullivan
 Sherri M. Arrigo (ARDC No. 06236640)                MICHAEL SULLIVAN*
 Timothy L. Hogan (ARDC No. 06277672)                Georgia Bar No. 691431
 DONOHUE, BROWN, MATHEWSON &                         msullivan@finchmccranie.com
 SMYTH LLC                                           DAVID BROUCHARD*
 131 South Dearborn Street, Suite 1600               Georgia Bar No. 712859
 Chicago, IL 60603                                   david@finchmccranie.com
 Tel: (312) 422-0900                                 GARY T. THOMPSON*
 Email: arrigo@dbmslaw.com                           Georgia Bar No. 722008
         hogan@dbmslaw.com                           gthompson@finchmccranie.com
         service@dbmslaw.com                         FINCH MCCRANIE, LLP
                                                     225 Peachtree Street, NE
 Matthew J. O’Connor*                                1700 South Tower
 Patrick M. Phelan*                                  Atlanta, GA 30303
 COVINGTON & BURLING LLP                             T: (404) 658-9070 F: (404) 688-0649
 850 Tenth Street, NW                                GEORGE F. GALLAND JR.
 Washington, D.C. 20001                              Illinois Bar No. 0906646
 Tel: (202) 662-6000                                 ggalland@lawmbg.com
 Email: moconnor@cov.com                             ROBERT S. LIBMAN
         pphelan@cov.com                             Illinois Bar No. 6282259
                                                     rlibman@lawmbg.com
 Attorneys for Defendant Allergan USA, Inc.          MINER, BARNHILL & GALLAND, P.C.
 *Admitted Pro Hac Vice                              325 N. LaSalle St., Ste. 350
                                                     Chicago, IL 60654
                                                     Tel: (312) 751-1170
Case: 1:22-cv-03013 Document #: 129 Filed: 07/21/22 Page 3 of 4 PageID #:83




                                        JAMES J. BREEN*
                                        Georgia Bar No. 079275
                                        jbreen@breenlaw.com
                                        THE BREEN LAW FIRM, PA
                                        11720 Amber Park Drive
                                        Suite 160
                                        Alpharetta, GA 30009
                                        T: (770) 740-0008 F: (678) 252-5545

                                        JAMES F. BARGER, JR.*
                                        Georgia Bar No. 304373
                                        jim@frobar.com
                                        BEN BUCY*
                                        Georgia Bar No. 526064
                                        ben@frohsinbarger.com

                                        FROHSIN BARGER & WALTHALL
                                        100 Main Street
                                        St. Simons Island, GA 31522
                                        T: (912) 809-3007

                                        ROBERT H. SNYDER, JR.*
                                        Georgia Bar No. 404552
                                        rob@cannellasnyder.com
                                        CANNELLA SNYDER LLC
                                        315 W. Ponce De Leon Ave
                                        Suite 885
                                        Decatur, GA 30030
                                        T: (404) 800-4828 F: (404) 393-0365

                                        Attorneys for Plaintiffs/Relators
                                        *Admitted Pro Hac Vice
    Case: 1:22-cv-03013 Document #: 129 Filed: 07/21/22 Page 4 of 4 PageID #:84




                NOTICE OF FILING AND CERTIFICATE OF SERVICE

X I hereby certify that on July 21, 2022, I electronically filed the foregoing Joint Motion to
  Exceed Page Limit with the Clerk of the United States District Court for the Northern District
  of Illinois by using the CM/ECF system. I certify that all participants in the case are
  registered CM/ECF users and that service will be accomplished by the CM/ECF system.

   I hereby certify that on March 24, 2020, I electronically filed the foregoing with the Clerk of
   the United States District Court for the Northern District of Illinois by using the CM/ECF
   system. Participants in the case who are registered CM/ECF users will be served by the
   CM/ECF system. I further certify that some of the participants in the case are not CM/ECF
   users. I have mailed the foregoing document by First-Class Mail, postage prepaid, or have
   dispatched it to a third-party commercial carrier for delivery within 3 calendar days, to the
   following non-CM/ECF participants:


                                       /s/Sherri M. Arrigo
                                       DONOHUE BROWN MATHEWSON &
                                         SMYTH LLC
                                       Sherri M. Arrigo (ARDC No. 06236640)
                                       Timothy L. Hogan (ARDC No. 06277672)
                                       131 S. Dearborn Street
                                       Suite 1600
                                       Chicago, IL 60603
                                       (312) 422-0900
                                       service@dbmslaw.com
                                       arrigo@dbmslaw.com
                                       hogan@dbmslaw.com
